                             1:17-cv-01383-JEH # 54          Page 1 of 27
                                                                                                        E-FILED
                                                                   Thursday, 05 December, 2019 11:39:22 AM
                                                                                Clerk, U.S. District Court, ILCD

                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE CENTRAL DISTRICT OF ILLINOIS

Joyce Harrison, as independent administrator of          )
the Estate of Adam Harrison,                             )
                                                         )
               Plaintiff,                                )
                                                         )
       v.                                                )     17 cv 1383
                                                         )
Wexford Health Sources, Inc., Michael                    )
Dempsey, MD, Dragoslav Gvozdjan, MD,                     )
and Brook Thomas,                                        )
                                                         )     JURY DEMAND
               Defendants.                               )

                        SECOND AMENDED COMPLAINT AT LAW

       Plaintiff, Joyce Harrison, as Independent Administrator of the Estate of Adam Harrison,

deceased, for her Second Amended Complaint at Law against Defendants Wexford Health

Sources, Inc., Michael Dempsey, MD, Dragoslav Gvozdjan, MD, and Brook Thomas, states as

follows:

                                               Parties

       1.      Adam Harrison was an inmate at the Pontiac Correctional Center in Pontiac,

Illinois, in the Central District of Illinois at the time of his death on November 7, 2015. Plaintiff

Joyce Harrison is Adam Harrison’s mother and has been appointed as Independent Administrator

of the Estate of Adam Harrison. Adam Harrison’s next-of-kin at the time of his death were his

mother Joyce Harrison and his sister Marie Garcia.

       2.      At all times material to this complaint, Defendant Wexford Health Sources, Inc.

(hereinafter “Wexford”), a Pennsylvania corporation, doing business in Illinois, had a contract

with the Illinois Department of Corrections (hereinafter “IDOC”) to provide medical, mental

health and psychiatric care to those incarcerated in the IDOC system, including at Pontiac
                           1:17-cv-01383-JEH # 54          Page 2 of 27




Correctional Center. Defendant Wexford was responsible for providing all medical, mental

health and psychiatric services to inmates, including but not limited to: the assessment of need

for services; provision of care and treatment services for all health care needs; and for hiring,

training, supervision and conduct of all health care providers at Pontiac Correctional Center. At

all relevant times, Wexford, by and through its employees and agents, was acting under color of

law and its agents and employees were acting under color of law and in the course and scope of

their employment.

       3.      Defendant Wexford was responsible for the establishment and implementation of

the policies, procedures, practices, and customs for provision of medical, mental health and

psychiatric care at Pontiac Correctional Center at all relevant times, as well as for the acts and

omissions in provision of medical, mental health and psychiatric services, challenged by this suit.

       4.      At all times material to this complaint, Defendant, Michael Dempsey, MD

(hereinafter “Dempsey”), and Dragoslav Gvozdjan, MD (hereinafter “Gvozdjan”), were

psychiatrists who were responsible for patient mental health and psychiatric care at Pontiac

Correctional Center and were employees of Defendant Wexford; also, at all times material to this

complaint Brook Thomas (hereinafter “Thomas”) was a Licensed Clinical Social Worker and

Mental Health Unit Director at Pontiac Correctional Center and was an employee of Defendant

Wexford. Defendants Dempsey and Gvozdjan were responsible for carrying out the policies and

procedures for mental health care then in effect at Pontiac Correctional Center and for provision

of appropriate psychiatric and medical care to inmates as evaluating and treating psychiatrists,

for prescribing medications and monitoring medication status of patients, and for the timely

response to the mental health care needs of inmates. Defendant Thomas was responsible for

carrying out the policies and procedures for mental health care then in effect at Pontiac

Correctional Center and for overseeing and ensuring that appropriate mental health and
                            1:17-cv-01383-JEH # 54         Page 3 of 27




psychiatric care was provided to inmates, for seeing that medication status of psychiatric patients

is monitored and medications are appropriately prescribed, for providing therapy, for assessing

suicide risk, and for the timely response to the mental health care needs of patients. At all times

material to this action Adam Harrison was a prisoner subject to the care and treatment provided

and overseen by Defendants Dempsey, Gvozdjan and Thomas.

                                      Jurisdiction and Venue

          5.    This Court has subject matter jurisdiction over the claims raised in this Complaint

under 42 U.S.C. § 1983 and 28 U.S.C. § 1331. Plaintiff further invokes the supplemental

jurisdiction of this Court, pursuant to 28 U.S.C. §1367, to consider the state law claims alleged

herein.

          6.    Venue is appropriate in the Central District of Illinois under 28 U.S.C. § 1391 as

Plaintiff’s decedent resided in the Central District of Illinois, Defendants do business in the

Central District of Illinois, and the acts and omissions giving rise to the claims occurred in the

Central District of Illinois.

                                       Factual Background

          7.    As a threshold matter, Plaintiff notes that Adam Harrison died while incarcerated

and, as such, Plaintiff does not have personal information regarding the circumstances of his

death. This information is notably within the control of Wexford Health Sources, Inc., and the

Illinois Department of Corrections and their employees. Courts have referred to this situation as

an "informational disadvantage,” and Plaintiff relies upon information obtained from Wexford

Health Sources, Inc., and the Illinois Department of Corrections and their employees.

          8.    Throughout the course of Adam Harrison’s incarceration at Pontiac Correctional

Center, he was known by staff and medical personnel to be at risk of suicide and was placed on

suicide precautions multiple times.
                          1:17-cv-01383-JEH # 54           Page 4 of 27




       9.      On and prior to November 7, 2015, Adam Harrison was an inmate at Pontiac

Correctional Center and a patient of Wexford relying for care upon medical and mental health

care personnel including Defendant Dempsey, Defendant Gvozdjan and Defendant Thomas.

During 2014 and through to mid-October 2015, Adam Harrison was prescribed and was

receiving psychotropic medication prescribed by Defendant Dempsey. As Adam’s psychiatrists,

it was Defendant Dempsey’s and Dr. Gvozdjan’s responsibility to provide ongoing psychiatric

evaluation and care for Adam and monitor his psychiatric condition and status with respect to

prescribed psychotropic medications.

       10.     On information and belief, Adam Harrison’s last medical appointment where he

was seen by Defendant Dempsey was July 7, 2015. Dr. Dempsey’s records at that time reflect

that Adam was scheduled to have a follow-up psychiatric appointment eight weeks thereafter.

Notwithstanding that direction, Adam was not seen by a psychiatrist again prior to his death on

November 7, 2015.

       11.     From the late summer of 2015 through to the time of Adam Harrison’s death,

Defendant Dempsey and Defendant Gvozdjan failed to have a follow-up psychiatric appointment

as prescribed, failed to keep appointments that were scheduled with Adam Harrison to monitor

his status while on the psychotropic medication, failed to keep any rescheduled appointment, and

allowed the psychotropic medication prescription to lapse without renewal or evaluation prior to

Adam’s death. Defendant Thomas did not take appropriate steps as Mental Health Unit Director

and Adam’s designated Licensed Clinical Social Worker to see that Adam was evaluated and

treated by a psychiatrist in response to his multiple requests, that his medication status was

monitored and addressed, and that multiple risk factors were assessed and addressed in the

course of his mental health treatment.
                           1:17-cv-01383-JEH # 54           Page 5 of 27




       12.     Adam Harrison was assigned to Defendant Thomas’s mental health caseload as of

early August, 2015. Defendant Thomas failed to provide oversight and coordination of care for

Adam as a patient on her caseload, and she had no therapy sessions with Adam from the time he

was assigned to her caseload to the time of his death. Defendant Thomas’s suicide assessments

of Adam Harrison on October 5, 2015 November 1, 2015 were cursory, incomplete and

inadequate. Defendant Thomas failed to follow suicide risk assessment protocol consistent with

the IDOC Mental Health Protocol Manual in performing suicide risk assessments for Adam on

October 5, 2015 and November 1, 2015; she did not review Adam’s records, and did not

properly consider his situational and precipitating factors, his history of past suicide attempts, his

mental instability and lack of medication, and his anxiety and concern about his parole status.

       13.     During the late summer and fall of 2015, Adam Harrison reported to Wexford

personnel concerns about his psychiatric condition and medications and requested multiple times

to see a psychiatrist concerning those issues. He was not seen by a psychiatrist during that time

and his psychotropic medication prescription was allowed to lapse before his death without

renewal or psychiatric assessment or evaluation. Adam Harrison had two appointments

scheduled with Dr. Gvozdjan in October 2015 as his prescription of Buspar was running out and

after it had run out; those appointments were not kept and no steps were undertaken by Dr.

Gvozdjan to provide for continuation of psychotropic medications or planning for

discontinuation of such medications or to see that Adam’s psychiatric needs were being met.

After Adam’s prescription lapsed, he was without his prescribed psychotropic medication for 19

days prior to his death on November 7, 2015. Two days prior to his death, Adam was referred to

Defendant Thomas by a Superintendent at Pontiac Correctional Center because he noted

uncharacteristic anxiety. Adam requested that Ms. Thomas get him psychiatric care because his

medications were stopped; a referral to a psychiatrist was deemed necessary and Adam was told
                          1:17-cv-01383-JEH # 54           Page 6 of 27




that an appointment would be made; however, the encounter was not recorded until two days

after Adam’s death and the psychiatric evaluation was not scheduled prior to his death.

       14.     On and prior to November 7, 2015, Adam Harrison was an inmate in North

House, cell #530, at the Pontiac Correctional Center.

       15.     On the evening of November 7, 2015, Adam Harrison’s dead body was reportedly

found in his cell. For Adam Harrison, November 7, 2015, was the date of a significant milestone,

the anniversary of the death of his father, Leonard Harrison.

       16.     The autopsy report of Dr. Scott Denton on behalf of the Livingston County

Coroner’s Office identifies the cause of death as being attributable to “suffocation due to a

plastic bag, towel, and jumpsuit wrapped around the head.”

       17.     As of early November 2015, Adam Harrison was approaching his targeted release

date and efforts were underway to make arrangements for him to be able to be released.

                                           COUNT I

   (Deliberate Indifference to Serious Mental Health Needs by Wexford Health Sources, Inc.,
            and Dr. Michael Dempsey, Dr Dragoslav Gvozdjan, and Brook Thomas
                           in Violation of the Eighth Amendment)

       18.     Plaintiff repeats and re-alleges paragraphs 1 through 17 as if fully recited herein.

       19.     At all relevant times, Adam Harrison had a constitutionally protected right under

the Eighth Amendment to the U.S. Constitution to receive needed care while incarcerated within

the IDOC, and to have his mental health issues timely and properly assessed and treated.

       20.     At all relevant times, Dr. Michael Dempsey, Dr. Dragoslav Gvozdjan and Brook

Thomas were working at Pontiac Correctional Center, were employed by the Defendant Wexford

Health Sources, Inc., and were acting within the scope of their employment and under color of

law.
                           1:17-cv-01383-JEH # 54          Page 7 of 27




       21.     Defendant Wexford Health Sources, Inc., and its employees, including but not

limited to Dr. Michael Dempsey, Dr. Dragoslav Gvozdjan and Brook Thomas knew at all times

material to this action that there was a substantial risk of suicide by Adam Harrison, a mental

health and psychiatric patient with a history of suicidality, and that such risk was exacerbated by

failure to provide psychiatric monitoring of his condition and status, failure to monitor his status

with respect to psychotropic medications, failure to classify him as permanent Seriously

Mentally Ill, failure to conduct proper suicide assessments, failure to respond to repeated

requests for psychiatric care, failure to provide therapy, failure to timely document and follow up

on inmate/patient interactions, and discontinuation of psychotropic medications without

psychiatric monitoring and assessment and planning.

       22.     The conduct of Defendants Wexford Health Sources, Inc., Dr. Michael Dempsey

Dr. Dragoslav Gvozdjan and Brook Thomas described above demonstrated deliberate

indifference to Adam Harrison’s mental, medical and psychiatric health needs and violated the

rights of Plaintiff’s decedent to be free of cruel and unusual punishment under the Eighth

Amendment to the U.S. Constitution.

       23.     As a direct and proximate result of the deliberate indifference to Adam Harrison’s

mental health needs as described above, Plaintiff’s decedent, Adam Harrison, experienced

injuries and suffering. Deliberate indifference to the Adam Harrison’s mental health needs as

described above was a proximate cause of the death of Plaintiff’s decedent, Adam Harrison.

       WHEREFORE, Plaintiff requests that judgment be entered for the Estate of Adam

Harrison and against Defendants Wexford Health Sources, Inc., and Dr. Michael Dempsey, Dr.

Dragoslav Gvozdjan and Brook Thomas awarding damages for loss of life, conscious pain and

suffering, additional available compensatory damages, punitive damages, reasonable attorney

fees and costs, and such further relief as this Court deems just.
                          1:17-cv-01383-JEH # 54           Page 8 of 27




                                          COUNT II

(Illinois State Law Medical Malpractice Claim Against Defendant Wexford Health Sources, Inc.)

       24.     Plaintiff repeats and re-alleges paragraphs 1 through 23 as if fully recited herein.

       25.     Wexford Health Sources, Inc., and its employees and agents had a duty to Adam

Harrison to exercise reasonable care and comply with the standard of care in medical and

psychiatric evaluation, care and treatment of Adam Harrison.

       26.     In support of the medical malpractice claims against Wexford Health Sources,

Inc., Plaintiff attaches hereto an Attorney Affidavit of merit in compliance with 735 ILCS 5/2-

622, Ex. 1, and an accompanying Medical Report, Ex. 2.

       27.     Wexford Health Sources, Inc., by and through its employees, and agents,

including but not limited to, LCSW Brook Thomas, Dr. Dragoslav Gvozdjan, and Dr. Michael

Dempsey, breached its duty to Adam Harrison to exercise reasonable care in accordance with the

standard of care in one or more of the following ways:

       A.      As to LCSW Brook Thomas:

               (1)    Failed to manage care of a patient such that he was receiving necessary
               psychiatric evaluation and treatment;

               (2)     Failed to monitor psychotropic drug prescriptions and ensure that such
               prescriptions are not discontinued without involvement of a psychiatrist in
               evaluation, counseling and planning;

               (3)    Failed to conduct proper suicide risk assessments of Adam Harrison;

               (4)  Failed to take actions necessary for the protection of Adam Harrison
               commensurate with his suicide risk factors;

               (5)    Failed to respond to Adam Harrison’s repeated requests to see a
               psychiatrist by arranging for a psychiatrist appointment;

               (6)    Failed to provide therapy for Adam Harrison; and

               (7)    Failed to document and provide for follow-up psychiatric care deemed
               necessary and for which Adam was told he would be referred two days
                          1:17-cv-01383-JEH # 54          Page 9 of 27




               prior to his death.


       B.      As to Dr. Dragoslav Gvozdjan:

               (1)    Failed to properly manage the condition and care of a patient for whom
               he was responsible to provide psychiatric care;

               (2)     Allowed discontinuation of a patient’s psychotropic medication without
               taking appropriate steps to ensure either continuation of medication or
               evaluation for prescription of alternative appropriate medication;

               (3)    Failed to take responsibility for assessment and monitoring of the
               condition of a psychiatric patient;

               (4)    Failed to see a patient for scheduled psychiatric appointments and to
               exercise clinical judgment in rescheduling; and

               (5)     Failed to appropriately respond to requests for services by a psychiatric
               patient for whom he was responsible to provide psychiatric care.

       C.      As to Dr. Michael Dempsey

               (1)     Failed to properly manage the condition and care of a psychiatric patient;

               (2)  Failed to properly designate Adam Harrison as Seriously Mentally Ill
               commensurate with his condition and psychiatric care needs;

               (3)    Failed to provide psychiatric evaluation necessary for continuation or
               modification of prescribed psychotropic medication; and

               (4)    Failed to appropriately monitor the condition of a patient under his
               psychiatric care, for whom he had prescribed psychotropic medication.

       28.     One or more of the foregoing breaches of the standard of care was a proximate

cause of injuries to Adam Harrison and his death on November 7, 2015.

       WHEREFORE, Plaintiff requests that judgment be entered for the Estate of Adam

Harrison and against Defendants Wexford Health Sources, Inc., awarding damages under the

Illinois Survival Act, 755 ILCS § 5/27-6, for injuries to Adam Harrison including but not limited

to pain and suffering, and emotional distress, as well as damages under the Illinois Wrongful
                            1:17-cv-01383-JEH # 54        Page 10 of 27




Death Act, 740 ILCS § 180/1, for loss of society, grief and sorrow, costs and such further relief

as this Court deems just.

                                          COUNT III

   (Illinois State Law Medical Malpractice Claim Against Defendant Dr. Michael Dempsey)

       29.     Plaintiff repeats and re-alleges paragraphs 1 through 23 as if fully recited herein.

       30.     Dr. Michael Dempsey had a duty to Adam Harrison to exercise reasonable care

and comply with the standard of care in medical and psychiatric evaluation, care and treatment of

Adam Harrison.

       31.     In support of the medical malpractice claims against Dr. Michael Dempsey,

Plaintiff attaches hereto an Attorney Affidavit of merit in compliance with 735 ILCS 5/2-622,

Ex. 3, and an accompanying Medical Report, Ex. 4.

       32.     Dr. Michael Dempsey breached his duty to Adam Harrison to exercise reasonable

care in accordance with the standard of care in one or more of the following ways:

       A.      Failed to properly manage the condition and care of a psychiatric patient;

       B.      Failed to properly designate Adam Harrison as Seriously Mentally Ill
               commensurate with his condition and psychiatric care needs;

       C.      Failed to provide psychiatric evaluation necessary for continuation or
               modification of prescribed psychotropic medication; and

       D.      Failed to appropriately monitor the condition of a patient under his
               psychiatric care, for whom he had prescribed psychotropic medication.

       33.     One or more of the foregoing breaches of the standard of care was a proximate

cause of injuries to Adam Harrison and his death on November 7, 2015.

       WHEREFORE, Plaintiff requests that judgment be entered for the Estate of Adam

Harrison and against Dr. Michael Dempsey awarding damages under the Illinois Survival Act,

755 ILCS § 5/27-6, for injuries to Adam Harrison including but not limited to pain and suffering,
                          1:17-cv-01383-JEH # 54           Page 11 of 27




and emotional distress, as well as damages under the Illinois Wrongful Death Act, 740 ILCS §

180/1, for loss of society, grief and sorrow, costs and such further relief as this Court deems just.

                                           COUNT IV

  (Illinois State Law Medical Malpractice Claim Against Defendant Dr. Dragoslav Gvozdjan)

       34.     Plaintiff repeats and re-alleges paragraphs 1 through 23 as if fully recited herein.

       35.     Dr. Dragoslav Gvozdjan had a duty to Adam Harrison to exercise reasonable care

and comply with the standard of care in medical and psychiatric evaluation, care and treatment of

Adam Harrison.

       36.      In support of the medical malpractice claims against Dr. Dragoslav Gvozdjan,

Plaintiff attaches hereto an Attorney Affidavit of merit in compliance with 735 ILCS 5/2-622,

Ex. 5, and an accompanying Medical Report, Ex. 6.

       37.      Dr. Dragoslav Gvozdjan breached his duty to Adam Harrison to exercise

reasonable care in accordance with the standard of care in one or more of the following ways:

       A.      Failed to properly manage the condition and care of a patient for whom
               he was responsible to provide psychiatric care;

       B.      Allowed discontinuation of a patient’s psychotropic medication without
               taking appropriate steps to ensure either continuation of medication or
               evaluation for prescription of alternative appropriate medication;

       C.      Failed to take responsibility for assessment and monitoring of the condition
               of a psychiatric patient;

       D.      Failed to see a patient for scheduled psychiatric appointments and to
               exercise clinical judgment in rescheduling; and

       E.      Failed to appropriately respond to requests for services by a psychiatric
               patient for whom he was responsible to provide psychiatric care.

       38.     One or more of the foregoing breaches of the standard of care was a proximate

cause of injuries to Adam Harrison and his death on November 7, 2015.
                          1:17-cv-01383-JEH # 54           Page 12 of 27




       WHEREFORE, Plaintiff requests that judgment be entered for the Estate of Adam

Harrison and against Dr. Dragoslav Gvozdjan awarding damages under the Illinois Survival Act,

755 ILCS § 5/27-6, for injuries to Adam Harrison including but not limited to pain and suffering,

and emotional distress, as well as damages under the Illinois Wrongful Death Act, 740 ILCS §

180/1, for loss of society, grief and sorrow, costs and such further relief as this Court deems just.

                                           COUNT V

       (Illinois State Law Medical Malpractice Claim Against Defendant Brook Thomas)

       39.     Plaintiff repeats and re-alleges paragraphs 1 through 23 as if fully recited herein.

       40.     Medical Unit Director and Licensed Clinical Social Worker Brook Thomas had a

duty to Adam Harrison to exercise reasonable care and comply with the standard of care in

providing and managing care and treatment of Adam Harrison.

       41.      In support of the medical malpractice claims against Brook Thomas, Plaintiff

attaches hereto an Attorney Affidavit of merit in compliance with 735 ILCS 5/2-622, Ex. 7, and

an accompanying Medical Report, Ex. 8.

       42.      Brook Thomas breached her duty to Adam Harrison to exercise reasonable care

in accordance with the standard of care in one or more of the following ways:

       A.      Failed to manage care of a patient such that he was receiving necessary
               psychiatric evaluation and treatment;

       B.      Failed to monitor psychotropic drug prescriptions and ensure that such
               prescriptions are not discontinued without involvement of a psychiatrist in
               evaluation, counseling and planning;

       C.      Failed to conduct proper suicide risk assessments of Adam Harrison;

       D.      Failed to take actions necessary for the protection of Adam Harrison
               commensurate with his suicide risk factors;

       E.      Failed to respond to Adam Harrison’s repeated requests to see a psychiatrist
               by arranging for a psychiatrist appointment;
                             1:17-cv-01383-JEH # 54        Page 13 of 27




        F.         Failed to provide therapy for Adam Harrison; and

        G.         Failed to document and provide for follow-up psychiatric care deemed
                   necessary and for which Adam was told he would be referred two days
                   prior to his death.

        43.        One or more of the foregoing breaches of the standard of care was a proximate

cause of injuries to Adam Harrison and his death on November 7, 2015.

        WHEREFORE, Plaintiff requests that judgment be entered for the Estate of Adam

Harrison and against Brook Thomas awarding damages under the Illinois Survival Act, 755

ILCS § 5/27-6, for injuries to Adam Harrison including but not limited to pain and suffering, and

emotional distress, as well as damages under the Illinois Wrongful Death Act, 740 ILCS § 180/1,

for loss of society, grief and sorrow, costs and such further relief as this Court deems just.

                                          JURY DEMAND


      The undersigned, an attorney for Plaintiff, demands a jury trial on all counts that may be

tried to a jury.



                                                Respectfully submitted,

                                                /s Mark Parts
                                                Mark Parts
                                                Faith H. Spencer
                                                Parts & Spencer, Ltd.
                                                130 North Garland Court, #2005
                                                Chicago, IL 60602
                                                312-920-0990
                                                mparts@pslegal.net
                                                Illinois Atty. No.: 6203617
1:17-cv-01383-JEH # 54   Page 14 of 27




                                         Exhibit # 1
1:17-cv-01383-JEH # 54   Page 15 of 27




                                         Exhibit # 2
1:17-cv-01383-JEH # 54   Page 16 of 27
1:17-cv-01383-JEH # 54   Page 17 of 27
1:17-cv-01383-JEH # 54   Page 18 of 27




                                         Exhibit # 3
1:17-cv-01383-JEH # 54   Page 19 of 27




                                         Exhibit # 4
1:17-cv-01383-JEH # 54   Page 20 of 27
                            1:17-cv-01383-JEH # 54                          Page 21 of 27



                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE CENTRAL DISTRICT OF ILLINOIS

Joyce Harrison, as independent administrator of                         )
the Estate of Adam Harrison,                                            )
                                                                        )
               Plaintiff,                                               )
                                                                        )
       �                                                                )     17 CV 1383
                                                                        )
Wexford Health Sources, Inc., et al.,                                   )
                                                                        )     JURY DEMAND
               Defendants.                                              )

                                       ATTORNEY AFFIDAVIT
                                      Pursuant to 735 ILCS 5/2-622

       Mark Parts, an attorney for the Plaintiff, having been sworn upon oath, states as follows:

        1.      I have consulted and reviewed the facts of this case with a physician who is
licensed to practice medicine in all its branches, who has maintained an active psychiatry
practice and has practiced in the field within the past six years, and who has been practicing
medicine for more than ten years. I reasonably believe that this physician is knowledgeable as to
the relevant issues involved in this action, has practiced within the last six years in the medical
field involved in this case, and is qualified by experience and training to render opinions herein.
        2.      The reviewing health professional has determined, as reflected in a written report,
after review of medical records and other relevant material pertaining to this case, that there is a
reasonable and meritorious cause for the filing of this Second Amended Complaint against Dr.
Dragoslav Gvodzjan.
        3.      I have concluded, on the basis of the health professional' s review and
consultation, that there is reasonable and meritorious cause for the filing the Second Amended
Complaint in this lawsuit against Dr. Dragoslav Gvodzjan.
        4.      A copy of the written report of the reviewing health professional referred to
herein is attached to this affidavit.

       FURTHER AFFIANT SAYETH NOT.



SUBS�BED and SWORN before me
this� day ofA/"t-(u,k,/, 2019.



NOTARY PUBLIC
                                     a=FICIAL SEAL
                                     FAITH SPENCER         lS
                             NOTARY PUBUC- STATE OF tWNO
                              MY COMMISSION EXPlRES:12/15121
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                                                                                            Exhibit # 5
1:17-cv-01383-JEH # 54   Page 22 of 27




                                         Exhibit # 6
1:17-cv-01383-JEH # 54   Page 23 of 27
1:17-cv-01383-JEH # 54   Page 24 of 27




                                         Exhibit # 7
1:17-cv-01383-JEH # 54   Page 25 of 27




                                         Exhibit # 8
1:17-cv-01383-JEH # 54   Page 26 of 27
1:17-cv-01383-JEH # 54   Page 27 of 27
